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                              Exhibit 2005

Prepared by      Patty Weeks,
                 Nez Perce County Clerk

         Data for 2010 Primary Election, Nez Perce County
Number of Registered Voters for Primary Election (Includes
Election Day Registration)                                        20,557
Number of Voters Who Registered on Election Day                      118
Number of Voters in Primary Election                               4,126
Number of Voters Who Cast Ballots for a Republican
Candidate or Candidates in Primary Election                        2,356
Number of Registered Voters Who Requested Ballots Under
Uniformed and Overseas Citizens Absentee Voting Act                      69
Number of Precincts in County                                            37
Number of Paid Election Officials for Primary Election                  155

         Data for 2008 Primary Election, Nez Perce County
Number of Registered Voters for Primary Election (Includes
Election Day Registration)                                        21,957
Number of Voters Who Registered on Election Day                      158
Number of Voters in Primary Election                               3,827
Number of Voters Who Cast Ballots for a Republican
Candidate or Candidates in Primary Election                        1,817
Number of Registered Voters Who Requested Ballots Under
Uniformed and Overseas Citizens Absentee Voting Act                      17
Number of Precincts in County                                            37
Number of Paid Election Officials for Primary Election                  156




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          Estimated Costs for Re-registering Voters to Provide
          Option to Declare Affiliation with Republican Party
          Costs of Processing Registration Cards Estimated at
         Quartiles for 25%, 50%, 75% and 100% of Voters Re-
          registering with Complete Registration Information,
                           Nez Perce County
    Percent         Number of      Minutes to Enter    Election Worker’s     Total Costs
 Re-registering      Voters             Data           Salary + Benefits
     25%             5,139.25     3 min = 265.9 hr         $23.29/hr          5,984.59
     50%            10,278.50     3 min = 513.9 hr         $23.29/hr          11,969.19
     75%            15,417.75     3 min = 770.9 hr         $23.29/hr          17,953.79
     100%           20,557        3 min = 1,027.9 hr       $23.29/hr          23,938.62


          Costs of Processing Registration Card Estimated at
         Quartiles for 25%, 50%, 75% and 100% of Voters Re-
         registering with Incomplete Registration Information,
                            Nez Perce County
    Percent         Number of      Minutes to Enter    Election Worker’s     Total Costs
 Re-registering      Voters        Data and Gather     Salary + Benefits
                                  More Information
     25%             5,139.25     8 min = 518.7 hr         $23.29/hr          15,959.08
     50%            10,278.50     8 min = 1,037.5 hr       $23.29/hr          31,918.01
     75%            15,417.75     8 min = 1,556.2 hr       $23.29/hr          47,877.25
     100%           20,557        8 min = 2,074.9 hr       $23.29/hr          63,836.25


    Costs of Printing and Mailing New Voter Registration Cards,
                          Nez Perce County
    Number of       Printing Cost per Mailing Cost per  Total Cost per       Total Costs
 Registered Voters        Card               Card            Card
20,557              $ 0.07/ card       $ 0.854/ card   $ 2.98/ card        $61,259.86
Envelopes $10,278.50 (2 @ .25 ea)
Processing $31,918.15 (4 min ea, @ 23.29/hr)
Notices $66.15




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    Kinds of Elections That Can Be Held on Day of May Primary
                 Election in Even Numbered Years,
                         Nez Perce County
      Contested Party Primaries (Mandatory)
      Judicial Elections (Mandatory)
      School Levy Elections (Possible)
      Recall for taxing districts (Possible)
      [Add all other taxing district elections that your County must or might
      conduct at the same time as a May Primary, e.g., Regional Airport Elections,
      City General or Special Elections, Port District Primary Elections]


         Costs of Printing Additional Ballots for Persons Who
         Decline to Identify with a Political Party and Wish to
                        Vote in Other Elections,
                           Nez Perce County
     Number of Ballots to Be        Cost per Ballot                   Total Costs
            Printed
            20,557                   $ 0.52/ ballot                   $ 10,689.64




        Costs of Training Election Officials to Acquaint Them
       with Requirement to Declare Affiliation with Republican
            Party in Order Obtain Ballot with Republican
                   Candidates in Primary Election,
                          Nez Perce County
Number of Persons to    Training Time Per       Election Worker’s            Total Costs
   be Trained                 Person           Salary Plus Benefits
       155                     1 hr                  $ 20.00                   $3,100




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